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STEVEN LEE GOODE,
Plaintiff,
vs. No. 05-2486-B/V

SHELBY COUNTY DETENTION CENTER,
et al.,

Defendants.

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ORDER TO COMPLY WITH PLRA
OR
PAY FULL $250 CIVIL FILING FEE

 

Plaintiff Steven Lee Goode, booking number 05117211, an
inmate at the Shelby County Criminal Justice Complex (“Jail”)1 in
Memphis, filed a prp §§ complaint pursuant to 42 U.S.C. § 1983 on July
6, 2005.

Under the Prison Litigation Reform Act of 1995 (“PLRA”), 28
U.S.C. § 1915(a)-(b), all prisoners bringing a civil action must pay
the full filing fee of $250 required by 28 U.S.C. § l9l4(a).2 The
statute merely provides the prisoner the opportunity to make a
“downpayment” of a partial filing fee and pay the remainder in
installments. §ee McGore v. Wrigglesworth, 114 F.Bd 601, 604 (Gth Cir.

1997) (“[w]hen an inmate seeks pauper status, the only issue is whether

 

1 The word “prison” is used in this order to refer to all places of
confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

2 Effective March 7, 2005, the civil filing fee was increased from $150.

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the inmate pays the entire fee at the initiation of the proceeding or
over a period of time under an installment plan. Prisoners are no
longer entitled to a waiver of fees and costs.”}.

In order to take advantage of the installment procedures, a
prisoner plaintiff must properly complete and submit to the district
court, along with.the complaint, either Form 4 of the Appendix of Forms
found in the Federal Rules of Appellate Procedure, or an affidavit that
contains the same detailed information found in Form 4. McGore, 114
F.3d at 605. The prisoner must also submit a certified prison trust
fund account statement, showing all activity in his account for the six
months preceding the filing of the complaint, and specifically showing:

1) the average monthly depositsr and
2) the average monthly balance

for the six months prior to submission of the complaint, and
3) the account balance when the complaint was submitted.

In this case, the plaintiff submitted an ip fp;ma pauperis
affidavit, but the portion that is to be filled out and signed by the
trust fund officer is left blank. The plaintiff also has not submitted
a certified copy of his inmate trust fund account statement. Therefore,
at the present time, plaintiff is not eligible to take advantage of the
installment payment procedures of § 1915(b}. Plaintiff is, however,
liable for the full $250 filing fee, which accrued at the moment the
complaint was filed. Accordingly, plaintiff is hereby ORDERED to submit
an ip fp;ma pauperis affidavit and a certified copy of his trust fund
account statement or the full $250 civil filing fee to the following
address within thirty (30) days after the entry of this order:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

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If plaintiff needs additional time to file the required
documents, he may request one thirty-day extension of time from this
Court. McGore, 114 F.3d at 605. If plaintiff fails to file the required
documentation, the Court will assess the entire filing fee, without
regard to the installment payment procedures, and will dismiss the
action, pursuant to Fed. R. Civ. P. 4l(b), for failure to prosecute.
McGore, 114 F.Bd at 605. If dismissed under these circumstances, the
case will not be reinstated despite the subsequent payment of the full
filing fee and regardless of any request for pauper status.

If plaintiff timely submits the proper documentationr and the
Court finds that plaintiff is indeed indigent, then_ he may' take
advantage of the installment procedures of § 1915(b). In such case,
plaintiff will be able to make an initial partial payment equal to 20%
of the greater of the average monthly deposits to his trust account for
the past six months or the average monthly balance in his account for
the past six months. After collection of the initial partial filing
fee, the remaining balance will be collected in monthly installments
equal to 20% of the income credited to the plaintiff’s account during
the preceding months. These monthly payments, however, will be
withdrawn only when plaintiff's account balance exceeds $10.

The Clerk is ORDERED to provide the plaintiff a copy of the
prisoner ip ;g£m§ pauperis affidavit form along with this order.

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IT is so oRDERED this /“F° day of July, 2005.

 

. ANIEL BREEN \`
UNI ED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02486 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

 

Steven Lee Goode

Shelby County Detention Center
05 1 1721 1

201 Poplar Ave

1\/1emphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

